        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 1 of 26




                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                        Plaintiff,

        v.                                               No. 20 Civ. 7311 (LAK) (JLC)

 DONALD J. TRUMP, in his personal capacity,

                        Defendant.


               PLAINTIFF E. JEAN CARROLL’S RESPONSE TO
         DEFENDANT DONALD J. TRUMP’S STATEMENT OF UNDISPUTED
           MATERIAL FACTS PURSUANT TO LOCAL CIVIL RULE 56.1

       Pursuant to Local Rule 56.1 of the Civil Rules of this Court, Plaintiff E. Jean Carroll

submits the following responses to Defendant Donald J. Trump’s Local Rule 56.1 Statement of

Undisputed Material Facts, ECF 109-1, and a statement of additional material facts in support of

her opposition to Trump’s motion for summary judgment.

I.   RESPONSES TO DEFENDANT’S STATEMENT OF MATERIAL FACTS

        1.      According to the Complaint, Plaintiff alleges that she encountered Defendant at the
Bergdorf Goodman Store located at 754 5th Ave, New York, NY 10019. Plaintiff is unable to
specify a date or time period when the events giving rise to this Complaint allegedly occurred,
other than “between the fall of 1995 and the spring of 1996.” Id. Plaintiff was approximately 52
years old at the time that the purported incident occurred. See Declaration of Alina Habba, (“Habba
Dec.”), Exhibit A at ¶ 22.

       Response: Undisputed.

        2.      Plaintiff, an advice columnist, alleges that Defendant recognized her on sight as the
“advice lady” and asked her to help him selected a present for a woman who was not present with
him at the store. Id. at ¶¶ 24-26.

       Response: Disputed to the extent that the cited paragraphs of the Complaint allege that

Trump said that he was at Bergdorf’s to buy a present for “a girl.”
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 2 of 26




        3.     Plaintiff alleges that the two eventually proceeded to take the escalator to either the
sixth or seventh floor, where the lingerie department was located. Id. at ¶¶ 29-30

       Response: Disputed to the extent that the cited paragraphs of the Complaint do not allege

that the lingerie department was located on “the sixth or seventh floor.”

       4.      Plaintiff alleges that the floor they visited was entirely abandoned, and there were
no sales attendants on the floor. Once there, Defendant allegedly insisted that Plaintiff try on the
bodysuit. Defendant then purportedly led Plaintiff by the arm to the dressing rooms. Id. at ¶¶ 31-
35.

      Response: Disputed to the extent that the cited paragraphs of the Complaint allege that the

lingerie department “was uncharacteristically empty, with no sales attendant in sight,” not that “the

floor they visited was entirely abandoned, and there were no sales attendants on the floor.”

        5.      At this point, Plaintiff alleges that Defendant purportedly closed the door to of the
dressing room, pushed her against a wall, and began kissing her without her consent. She then
claims that she pushed Defendant away and laughed at him, and that he then pressed her against
the wall once more, pulled down her tights, and forcibly raped her until she managed to push him
off and flee the store. Id. at ¶¶ 36-42.

       Response: Disputed to the extent that the cited paragraphs of the Complaint allege that

Carroll “burst out in awkward laughter,” not that she “laughed at him.”

       6.       Plaintiff testifies that she only contemporaneously disclosed the details of this
alleged attack to two of her friends: Lisa Birnbach and Carol Martin. After sharing her account of
the purported attack, Plaintiff did not speak of it, or even so much as dwell on the incident, until
Defendant was elected President in 2016. Id. at ¶¶ 43-52.

       Response: Disputed to the extent that the cited paragraphs of the Complaint do not allege

that Carroll did not “even so much dwell on the incident, until Defendant was elected President.”

Further disputed to the extent that the cited paragraphs of the Complaint do not constitute

“testi[mony].”

         7.      Thereafter, Plaintiff decided to reveal these allegations publicly against Appellant
for the first time with the release of the book entitled: ‘What Do You Need Men For?” in or around
May of 2019. Id. at ¶ 74.




                                                  2
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 3 of 26




       Response: Disputed in that Trump mischaracterizes the cited paragraph of the Complaint,

which does not allege what Trump states as undisputed fact. The evidence establishes that Carroll

revealed her allegations against Donald Trump publicly for the first time on June 21, 2019, in New

York Magazine, prior to the release of her book, and that she did not consider including allegations

about Trump in her book until “four or five weeks into writing” it. Ex. 1 to Kaplan Decl. (“Carroll

Dep.”) at 155:15-18; Ex. 2 to Kaplan Decl. (“Cut Article”). The evidence further establishes that

the title of Carroll’s book is What Do We Need Men For? Carroll Dep. at 153:23.

        8.       Plaintiff made a conscious decision to issue an excerpt of her book to New York
Magazine as opposed to Elle, the magazine that formerly published her Ask E. Jean advice column.
Publicly, she has proffered the following justification for this decision: “Under Nina, Elle has been
less into politics or news … Nina’s Elle is a fashion magazine. So I went with New York Magazine,
which knows how to break news.” See id., Exhibit D at 3. 9.

       Response: Disputed to the extent it does not include a “citation to evidence which would

be admissible, set forth as required by Fed. R. Civ. P. 56(c).” S.D.N.Y. Local Civil Rule 56.1(d).

The evidence establishes that Carroll “made the decision along with the publisher and [her] agent”

to publish the excerpt of her book detailing the rape allegations in New York Magazine. Carroll

Dep. at 192:14-16. The excerpt also discussed Carroll’s background, career, and other experiences

with sexual assault. See Cut Article. When asked in her deposition why she chose to publish in

New York Magazine instead of Elle, Carroll testified:

               Because [Elle] do[es]n’t publish anything of [the excerpt’s] length.
               They don’t publish articles about women being raped. It’s just they
               are very careful about not upsetting their readers and I don’t believe
               that they would have run anything close to what New York ran. They
               would have cut it out very—they wouldn’t want to have their readers
               upset [] concerning their columnist…. I didn’t believe they would
               run a full excerpt.

Id. at 190:15-191:2, 191:22-23.

       9.      Additionally, Plaintiff testified that she chose New York Magazine over Elle
because she didn’t “believe that [Elle] would have run anything close to what New York ran.” See
Id. Exhibit B at 190:15-25.


                                                 3
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 4 of 26




       Response: Undisputed.

        10.      Following these public allegations set forth in Appellee’s book, Plaintiff’s
defamation claim arises out of three statements in June 2019 made directly in response to
Plaintiff’s allegations (the “Statements”). See id., Ex. A at ¶ 81.

       Response: Disputed to the extent that the cited paragraph of the Complaint does not allege

that Trump responded “directly” to Carroll’s allegations.

       11.     On June 21, 2019, a statement circulated by the Deputy White House Press
Secretary to the press denied the accusation and Appellant stated:

               Regarding the ‘story’ by E. Jean Carroll, claiming she once
               encountered me at Bergdorf Goodman 23 years ago, I’ve never met
               this person in my life. She is trying to sell a new book – that should
               indicate her motivation. It should be sold in the fiction section.
               Shame on those people who make up false stories of assault to try to
               get publicly for themselves, or sell a book, or carry out a political
               agenda – like Julie Swetnick who falsely accused Justice Brett
               Kavanaugh. It’s just as bad for people to believe it, particularly when
               there is zero evidence. Worse still for a dying publication to try to
               prop itself up by peddling fake news – it’s an epidemic.
               Ms. Carroll & New York Magazine. No pictures? No surveillance?
               No video? No reports? No sales attendants around?? I would like to
               thank Bergdorf Goodman for confirming that they have no video
               footage of any such incident, because it never happened.
               False accusations diminish the severity of real assault. All should
               condemn false accusations and any actual assault in the strongest
               possible terms.
               If anyone has information that the Democratic Party is working with
               Ms. Carroll or New York Magazine, please notify us as soon as
               possible. The world should know what’s really going on. It is a
               disgrace and people should pay dearly for such false accusations. Id.
               at ¶ 82.

       Response: Disputed to the extent that the cited paragraph of the Complaint does not allege

that the statement was “circulated by the Deputy White House Press Secretary.” Further disputed

to the extent that the above misquotes portions of Trump’s statement, which should read:

               Regarding the ‘story’ by E. Jean Carroll, claiming she once
               encountered me at Bergdorf Goodman 23 years ago, I’ve never met



                                                 4
         Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 5 of 26




               this person in my life. She is trying to sell a new book – that should
               indicate her motivation. It should be sold in the fiction section.
               Shame on those who make up false stories of assault to try to get
               publicity for themselves, or sell a book, or carry out a political
               agenda – like Julie Swetnick who falsely accused Justice Brett
               Kavanaugh. It’s just as bad for people to believe it, particularly when
               there is zero evidence. Worse still for a dying publication to try to
               prop itself up by peddling fake news – it’s an epidemic.
               Ms. Carroll & New York Magazine: No pictures? No surveillance?
               No video? No reports? No sales attendants around?? I would like to
               thank Bergdorf Goodman for confirming that they have no video
               footage of any such incident, because it never happened.
               False accusations diminish the severity of real assault. All should
               condemn false accusations and any actual assault in the strongest
               possible terms.
               If anyone has information that the Democratic Party is working with
               Ms. Carroll or New York Magazine, please notify us as soon as
               possible. The world should know what’s really going on. It is a
               disgrace and people should pay dearly for such false accusations.

Compl. ¶ 82; see also Ex. 3 to Kaplan Decl. (“Trump Dep. Ex. 20”).

         12.   On June 22, 2019, Defendant made the following statement to the White House
press:

               [Reporter]: [Y]ou had said earlier that you never met E. Jean Carroll.
               There was a photograph of you and her in the late 1980’s—
               [Trump]: I have no idea who this woman is. This is a woman who
               has also accused other men of things, as you know. It is a totally
               false accusation. I think she was married—as I read; I have no idea
               who she is—but she was married to a, actually, nice guy, Johnson—
               a newscaster.
               [Reporter]: You were in a photograph with her.
               [Trump]: Standing with coat on in a line—give me a break—with
               my back to the camera. I have no idea who she is. What she did is—
               it’s terrible, what’s going on. So it’s a total false accusation and I
               don’t know anything about her. And she’s made this charge against
               others.
               And, you know, people have to be careful because they’re playing
               with very dangerous territory. And when they do that—and it’s
               happening more and more. When you look at what happened to
               Justice Kavanaugh and you look at what’s happening to others, you
               can’t do that for the sake of publicity.


                                                 5
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 6 of 26




               New York Magazine is a failing magazine. It’s ready to go out of
               business, from what I hear. They’ll do anything they can. But this
               was about many men, and I was one of the many men that she wrote
               about. It’s a totally false accusation. I have absolutely no idea who
               she is. There’s some picture where we’re shaking hands. It looks
               like at some kind of event. I have my coat on. I have my wife
               standing next to me. And I didn’t know her husband, but he was a
               newscaster. But I have no idea who she is—none whatsoever.
               It’s a false accusation and it’s a disgrace that a magazine like New
               York—which is one of the reasons it’s failing. People don’t read it
               anymore, so they’re trying to get readership by using me. It’s not
               good.
               You know, there were cases that the mainstream media didn’t pick
               up. And I don’t know if you’ve seen them. And they were put on
               Fox. But there were numerous cases where women were paid money
               to say bad things about me. You can’t do that. You can’t do that.
               And those women did wrong things—that women were actually
               paid money to say bad things about me. But here’s a case, it’s an
               absolute disgrace that she’s allowed to do that. Id. at ¶ 91.

              Response: Undisputed. See also Ex. 4 to Kaplan Decl. (“Trump Dep. Ex. 21”).

        13.    On June 24, 2019, Defendant issued a third statement in response to Plaintiff’s
allegations against him: “I’ll say with great respect: Number one, she’s not my type. Number two,
It never happened. It never happened, OK?” Id. at ¶ 97.

       Response: Disputed to the extent that the cited paragraph of the Complaint alleges that

Trump “made [a third] statement,” not that he “issued a third statement.” Further disputed to the

extent that Trump misquotes his statement, which said, “I’ll say it with great respect: Number one,

she’s not my type. Number two, it never happened. It never happened, OK?” Compl. ¶ 97; see also

Ex. 5 to Kaplan Decl. (“Trump Dep. Ex. 22”).

      14.     Following Defendant’s repudiation of Plaintiff’s claims, Plaintiff filed the instant
complaint. See generally, id.

       Response: Disputed to the extent that “[f]ollowing” suggests the instant action was filed

immediately after Trump made his June 2019 statements. Carroll initially filed this action in New

York State Court on November 4, 2019. See Compl.




                                                6
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 7 of 26




       15.     The Complaint alleges, among other things, that the above referenced statements
issued by the President were defamatory per se and caused her to “suffer reputational, emotional,
and professional harm. Id.

       Response: Undisputed.

        16.     Plaintiff alleges that the Statements caused her professional harm by causing
“injury to her reputation, honor, and dignity.” Id. at ¶ 132.

       Response: Disputed to the extent that the cited paragraph of the Complaint does not

include the words “professional harm.”

       17.   In a meager attempt to quantify this damage, Plaintiff alleges that she “received
roughly 50% fewer letters than she received during the same period in 2018.” Id. at ¶ 134.

       Response: Disputed to the extent that the cited paragraph of the Complaint does not

support the characterization “In a meager attempt to quantify this damage.”

         18.    Plaintiff when deposed, however, candidly admitted that she never kept track of the
letters she received from Elle Readers until 2019, after the lawsuit was filed. See id., Exhibit B at
230:20-24; 231:2-7.

       Response: Undisputed.

        19.   Plaintiff also produced the expert report of Professor Ashlee Humphries, PhD to
assess the damages Plaintiff purportedly suffered as a result of the Statements. See generally, id.,
Exhibit C ([“Humphreys Rep.”]).

       Response: Disputed in that Trump mischaracterizes the purpose and scope of the report,

which was:

               to create an analytic model to (1) estimate the number of impressions
               for the allegedly defamatory statements (“Statements”) that were
               made by Donald Trump on June 21, 22, and 24, 2019, and circulated
               on social and traditional media (“Impressions Model”), (2) analyze
               the impact, if any, of these Statements by estimating the percentage
               of people who may have been receptive to these Statements and
               assess the damage to Ms. Carroll’s reputation and person brand
               (“Impact Model”), and (3) provide a model to estimate costs for
               reputational repair based on the impact of those impressions
               (“Damages Model”) on behalf of Ms. Carroll.




                                                 7
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 8 of 26




Humphreys Rep. at 2. Further disputed to the extent that Trump misspells the name of Professor

Ashlee Humphreys.

        20.      Upon examination, the Report almost exclusively focuses on the purported harm
Plaintiff has allegedly sustained to her “reputation and person brand.” Id. at 2.

       Response: Disputed for the reasons stated in the response to paragraph 19.

        21.    Dr. Humphreys concludes that the “utterance and circulation of Mr. Trump’s
Statements caused short - and long-term harm to Ms. Carroll’s person brand, shifting perceptions
associated with her person brand with the general public and specific perceptions amongst a group
of people receptive to the claims” and that Plaintiff’s “reputational value has been diminished due
to the Statements.” Id. at 5.

       Response: Disputed as an incomplete statement of the conclusions of Prof. Humphreys’

report. See, e.g., Humphreys Rep. at 3-5 (summary of opinions).

II.    PLAINTIFF’S STATEMENT OF ADDITIONAL MATERIAL FACTS

       A.      Trump Rapes Carroll

       22.     Carroll and Trump once met at a party in the late 1980s, and long moved in similar

New York City circles. Carroll Dep. at 18:8-11, 45:20-23, 46:10-18, 48:13-18, 50:19-51:23, 96:2-

5; Ex. 6 to Kaplan Decl. (“Trump Dep.”) at 18:12-21:12, 22:15-25:14, 34:12-36:13; Ex. 7 to

Kaplan Decl. (“Trump-Carroll Photo”).

       23.     They met again sometime in the fall of 1995 or the spring of 1996 at Bergdorf

Goodman on Fifth Avenue in New York City. Carroll Dep. 59:22-61:2.

       24.     Carroll had gone to Bergdorf’s after leaving work at a studio in New Jersey, where

she taped her “Ask E. Jean” television show, and as she was about to leave without having made

a purchase, she saw Trump through the revolving door as she was exiting onto 58th Street. Id. at

35:6-7, 81:13-21, 85:23-86:2, 96:2-4, 96:19-97:4.

       25.     Carroll testified, “I was leaving the store. He was coming in. He held up his hand

as I was coming out so I stopped and he came in and he said hey, you’re that advice lady…. I said



                                                8
         Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 9 of 26




something like hey, you’re that real estate tycoon.” Id. at 96:2-9; see also id. at 96:21-22 (“[He]

put up his hand to stop me from going out when he was coming in.”), 98:18-20 (“Q. Why did you

stop? A. It’s the international symbol. It was aimed at me so I stopped.”).

       26.     After greeting Carroll, Trump said, “come help me buy a present.” Id. at 99:7-8.

Carroll asked, “who is the present for?” and Trump responded, “a girl,” but did not give a name.

Id. at 102:19-20.

       27.     After rejecting Carroll’s suggestion of handbags, and a brief perusal of hats, id. at

100:7-13, 103:5-6, Trump said, “I know, lingerie,” id. at 103:22-104:2.

       28.     Trump and Carroll rode the escalator to the floor with the lingerie, which Carroll

noticed was empty. Id. at 104:14-24, 106:10-18.

       29.     Upon entering the lingerie section, they saw that “on the counter were three or four

boxes” and a “see-through body suit with a little bit of lace on it.” Id. at 106:21-107:3; see also id.

at 109:23-110:3 (describing the bodysuit as a “one-piece body suit” that was “[s]ee-through, lilac

grayish-blue edged with a little bit of lace, very pretty”).

       30.     Trump “snatched it up” and “threw it” at Carroll, telling her to “go put this on.” Id.

at 109:11-12, 110:8. She “tossed it back to him,” saying, “you put it on, it’s your color,” and telling

him, “it goes with your eyes.” Id. at 109:14-15, 110:8-10.

       31.     Trump then “held it against [her] chest” and said, “you’re in good shape, this looks

like it might fit you.” Id. at 110:24-111:3. She replied, “but it’s your size.” Id. at 111:5-6.

       32.     Carroll testified, “This was banter. We’re going back and forth. He’s saying put

this on, I’m saying you put it on. He’s saying—I thought it was an enjoyable repartee.” Id.

at 111:6-9.




                                                   9
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 10 of 26




       33.     After Carroll told him, “it’s your size,” “he took [her] arm and he said let’s go put

this on.” Id. at 111:17-19. In response, Carroll explained, “I started laughing because I’m thinking

to myself this is hilarious, I’m going to make him put it on over his pants. That’s my plan. And

then after I make him put it on over his pants I’m going to have a story that I can tell my friends

at dinner.” Id. at 111:19-25.

       34.     Then, in “all one action”:

               I stepped into the room, the door was banged closed and he
               pushed me up against the wall…. [H]e immediately pushed
               me up against the wall so hard that I banged my head …. It
               hurt. It jolted me and then he pushed me back again and I hit it
               again for a second time.

Id. at 115:15-17, 116:13-15, 119: 6-8.

       35.     She testified further:

               [W]hen he first shoved me against the wall, [he] lunged and
               shoved me back and I hit my head, [and] he put his mouth
               against mine.

Id. at 127:19-21.

       36.     Carroll explained, “I was so shocked that I didn’t speak. What I did was I laughed.”

Id. at 118:22-23. When asked why she was laughing, Carroll answered:

               A. Shock. Trying to recapture the camaraderie we had and sort of a
               feeling of a lark, we’re on a lark, we’re having an adventure, it’s a
               lark, trying to recapture that and take it out of the realm where he
               had entered, trying to reduce any eroticism about it.
               Q. Was it erotic?
               A. Not to me.
               Q. Was he angry?
               A. No.
               Q. What was his demeanor?
               A. Intent.

Id. at 119:25-120:13.


                                                 10
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 11 of 26




       37.      After Carroll had “hit [her] head twice,” she testified:

                [T]hen he had his hands on my arms, pushed me back a second time,
                hit my head and then he put his shoulder into me, and he’s a big
                man. He’s—and he—guessing 220, maybe 225 at the time. I
                weighed 120. He was 100 more pounds. And that was one of the
                things that went through my mind was how big and heavy he was
                because his whole weight came, his shoulder came into me and so
                at this point I realized it was serious. I was shocked before because
                he put me against the wall but now I understood that this is—this is
                a battle, and he pulled down my tights…. [I]t went from good humor
                joshing into being up against the wall and then having that heavy
                weight against me.

Id. at 120:20-121:10, 121:16-18.

       38.      After he pulled down her tights, she “tried to get [her] arms up to push him back,”

but “[t]he problem was [she] couldn’t get [her] knee up because the pantyhose had been taken

down.” Id. at 122:13-17.

       39.      Then he raped her:

                I felt his fingers rummaging around my vagina and this huge weight
                against me. My head hurt, this huge weight, I’m in a situation where
                I can’t—I can’t—at one point I remember saying this is Donald
                Trump, what the heck is going on? And then I felt his penis inside
                of me.

Id. at 123:6-13.

       40.      Finally, Carroll “managed to get [her] knee up and push off.” Id. at 125:8-9. When

asked, “[s]o when you pushed him off with your knee, did he back off of you?,” she answered,

“Well, I pushed him with hands and knee and I didn’t look to see what he was doing. I turned and

got out.” Id. at 127:4-9.

       41.      As she fled down the escalator, Carroll testified, “I do remember going and having

the fear that he may—may be coming after me” and would “maybe grab me again.” Id.

at 128:10-24.




                                                  11
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 12 of 26




       42.     She exited on Fifth Avenue and immediately called her friend Lisa Birnbach. Id. at

130:13-14. Carroll “was in shock and disordered,” and “felt unbalanced.” Id. at 135:5-6.

       43.     When Birnbach answered, she noticed that “E. Jean was very agitated, very

hyperventilating. Emotional. And she told me about what happened to her just really moments

before she made the phone call.” Ex. 8 to Kaplan Decl. (“Birnbach Dep.”) at 34:14-18. Birnbach

explained that “[t]here was a moment that [Carroll] was laughing. But she was not laughing funny.

She was laughing excited. Highly reactive.” Id. at 35:20-23.

       44.     Carroll then told Birnbach what “just happened,” id. at 36:17-37:17, 38:10-24,

39:2-5, and Birnbach replied, “E. Jean, you’ve been raped,” id. at 39:12-13. Birnbach told Carroll

that she should go to the police, but Carroll refused. See id. at 39:14-20; Carroll Dep. at 134:15-

21 (“I remember Lisa suggesting I go to the police and also Lisa suggesting that she go to the

police with me and that idea was so, such a terrible—I couldn’t picture myself going to the police

so I shut that down.”).

       45.     Instead Carroll “swore [Birnbach] to secrecy,” saying, “you and I will never discuss

this again.” Birnbach Dep. at 40:4-9.

       46.     The “next day or the day after,” Carroll told her friend Carol Martin what had

happened. Carroll Dep. at 141:10-14; Ex. 9 to Kaplan Decl. (“Martin Dep.”) at 27:24-28:18, 32:6-

12. Martin “advised [Carroll] not to do anything,” telling her “that Mr. Trump had many lawyers

and he would bury her” if she brought this allegation. Id. at 33:8-24; see also Carroll Dep. at

143:19-21 (“[Martin] said tell no one, he’s got 200 lawyers, he’ll bury you.”).

       47.     Carroll did not tell another person for over two decades. She explained:

               I didn’t want to talk about it ever again, ever. That was it, and I
               didn’t want to hear about it ever again. I was embarrassed, I was
               ashamed at this point. I was raped, this is like—this was shocking
               and so I just said let’s never talk about this again. … I didn’t want



                                                12
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 13 of 26




                 to talk to anybody or tell the police. I just didn’t—it was just
                 something that I would keep to myself.

Carroll Dep. at 138:7-15, 144:9-12; see also id. at 144:18-19 (“I always feel I can handle things
myself.”).
        48.      In her deposition, she was asked about the use of the word “rape” to describe what

happened to her:

                 Q. … [Y]ou had stated prior that you didn’t like using the word
                 “rape.” Do you recall that?
                 A. I recall feeling that.
                 Q. Why did you feel that way?
                 A. The word to me means something that generally speaking a man
                 does to a woman, that she’s powerless, that he has the power over
                 her, rape. It means he’s taken something from her and I didn’t view
                 it that way. I viewed ... what went on in that dressing room as a fight.
                 Q. Did you feel like you won that fight?
                 A. I don’t think there are any winners there.

Id. at 138:19-139:10.

        49.      When asked why she did not come forward sooner, she further testified:

                 I’m going to say something that even surprises me because women
                 who have been raped are looked at in this society as less, are looked
                 at as spoiled goods, are looked at as rather dumb to let themselves
                 get attacked. I mean even you have to say did you scream? I mean
                 every woman who admits to being attacked has to answer that
                 question, why didn’t you scream, why did you come forward when
                 you did, why didn’t you come forward before ….

Id. at 147:16-148:7.

        50.      Carroll never had sex or dated again, id. at 44:17-25, explaining that, after the rape,

“the music had stopped” and her “light was gone,” id. at 41:3-4, 42:13-18. In her own words, she

explained, “I had no desire for desire. I don’t have the desire to want sex. You have to want sex.”

Id. at 43:5-7.




                                                   13
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 14 of 26




        B.     Carroll Comes Forward

        51.    In 2016, Trump announced his candidacy for President, and Carroll felt “[j]ust

almost disbelief and a little bit of heartache.” Id. at 148:9-15.

        52.    When asked why she did not come forward with her account at that time, she

testified:

               A. I was with my mother in Bloomington, Indiana. She was on her
               deathbed. She was a feisty redheaded Scottish woman, republican
               politician, so we gathered around for her last weeks.
               Q. Did you think she would be upset if she heard the allegations
               against Donald Trump?
               A. That’s all she needed to hear on her death bed. Well, I was
               worried that it would ruin her last days and I just couldn’t have done
               it. I just wouldn’t have done it.

Id. at 148:20-149:10.

        53.    Carroll further testified:

               Q. What do you mean by helping him?
               A. As more and more women came forward with accusations against
               the former president, his popularity seemed to go up.
               …
               Q. And that was part of the reason you didn’t come out with it; is
               that correct?
               A. ... I was – didn’t think it was -- I knew it would help him. I didn’t
               want to get fired from Elle and I didn’t want to lose my reputation
               and I didn’t want to be looked at as soiled goods or stupid to go get
               yourself attacked in Bergdorf’s. It was not something I would want
               to talk about.

Id. at 150:19-151:23.

        54.    In 2017, Carroll took a road trip interviewing women for a book she was writing.

Id. at 153:22-23. She testified:

               I started the book because over the 26 years that I was writing the
               column, almost every single letter, whether it was about career or
               finances or children or romance, there was always a complaint about


                                                  14
       Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 15 of 26




               a man. So I spent 26 years saying get rid of him, get rid of him. So
               I thought why don’t I just go on the road and ask women what do
               we need men for and let them tell me so I don’t go through with my
               idea which is to put them, all the men, in Montana. That was the
               idea. That was what I was going to do. It had nothing to do with
               Donald Trump, nothing, and then the first day of the trip started. My
               intention was to go to towns named after women, only wear clothes
               designed by women, only eat in restaurants like Betty’s Cafe run by
               women or owned by women, only listen to books by women in the
               car, listen to music by women. That was the whole thing. I get out
               of the car when I got to the small town and talk to the people, what
               do we need men for. I was getting fabulous answers.

Id. at 153:23-154:24.

       55.     The same day her road trip started, “the Harvey Weinstein story broke.” Id.

at 154:24-25. After this, she began “making a list” of the “hideous men” in her life.” Id. at

155:13-14, 156:6. She explained that “[m]any other men were on it but [Trump] wasn’t,” and she

“didn’t make th[e] decision to include him [in the book] until four or five weeks into writing the

book.” Id. at 155:14-18.

       56.     In her deposition, she testified about the prior sexual assaults she experienced. See

id. at 161:6-16, 173:7-175:8.

       57.     Carroll decided to include Trump on her list because of “the flood of stories that

started as women started standing up” during the #MeToo movement. Id. at 155:2-3.

       58.     When asked “[i]f it wasn’t for the #MeToo movement, do you think you would

have spoken out against the defendant?,” Carroll answered, “No, I don’t think I would have.” Id.

at 153:9-12.

       59.     Prior to the release of the book, New York Magazine published an excerpt of the

book that included stories about Carroll’s background, career, and experiences with sexual assault,

including being raped by Trump. Id. at 190:7-8; Cut Article; Ex. 10 to Kaplan Decl. (eight-page

print version of book excerpt).



                                                15
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 16 of 26




       60.     She made the decision “along with the publisher and [her] agent” to publish the

excerpt in New York Magazine. Carroll Dep. at 192:15-16. Carroll testified:

               Because [Elle] do[es]n’t publish anything of [the excerpt’s] length.
               They don’t publish articles about women being raped. It’s just they
               are very careful about not upsetting their readers and I don’t believe
               that they would have run anything close to what New York ran. They
               would have cut it out very—they wouldn’t want to have their readers
               upset [] concerning their columnist…. I didn’t believe they would
               run a full excerpt.

Id. at 190:17-191:2, 191:22-23.

       61.     Trump responded to the allegations with three statements made on June 21, 22, and

24, 2019, respectively. See Trump Dep. at 64:23-70:7; Trump Dep. Ex. 20; Trump Dep. Ex. 21;

Trump Dep. Ex. 22; see also Ex. 11 to Kaplan Decl., at 5-6, 16-17, 21 (Defendant’s Responses

and Objections to Plaintiff’s First Set of Requests for Admission).

       62.     When asked in her deposition how she expected him to react to the allegations, she

explained:

               I didn’t think he would deny it. I thought he would just say it didn’t
               happen that way. She agreed to it or it was consensual sex.
               …
               I just was shocked that he absolutely denied it because he was there
               and he denied it. That’s what gets me every time. He was there, he
               denied it.

Carroll Dep. at 166:2-6, 167:3-7.

       63.     Carroll was also asked if, “[p]rior to releasing this article with The Cut, did [she]

anticipate that you might need to sue the defendant to hold him accountable?” She replied, “No, it

was the last thing I would ever think of.” Id. at 167:17-22.

       C.      Trump Doubles Down on His Statements and Continues to Insult Carroll

       64.     In his deposition, Trump reaffirmed and stood by his three June 2019 statements:

               Q. Sitting here today, do you stand by this [June 21] statement?


                                                16
       Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 17 of 26




              A. Yes.
              Q. Sitting here today, are there any inaccuracies in this statement
              that you now know of?
              A. Not that I can see, no.
              …
              Q. I take it you stand by that [June 22] statement today?
              A. Yes.
              Q. Sitting here today, are you aware of any inaccuracies in your
              statement? …
              A. No. … [T]he statement is, in my opinion, correct.
              …
              Q. … I take it, sir, that you stand by that [June 24] statement today?
              A. Yes, I do.
              Q. And I take it that from what we’ve been discussing so far that
              you don’t see any inaccuracies in that statement?
              …
              A. No. No.

Trump Dep. at 60:3-8, 67:7-18, 69:21-70:5.

       65.    Trump repeated that he never met Carroll:

              Q. In your June 21 statement that’s marked as Exhibit 20, you say—
              and this is the Littman tweet—“I never met this person in my life.”
              A. Yes.
              Q. Was that a true statement when you made it on June 21, 2019?
              A. It was a true statement when I made it.
              …
              Q. So if I can understand your testimony, sir, you’re saying that at
              the time you made the statement …, you were not aware of ever
              having met Ms. Carroll? You have since seen a photograph that
              shows you with Ms. Carroll on a receiving line; correct?
              A. Along with a lot of other people.
              …
              Q. So the answer to my question is yes, that after you made the
              statement, you became aware that there’s a photo of you with Ms.
              Carroll in a receiving line; correct?



                                               17
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 18 of 26




                  A. At some point … I saw there was a photo on a receiving line, yes.

Id. at 80:4-10, 80:17-23, 81:7-14.

       66.        Trump repeated that Carroll made up the rape to sell a book:

                  Q. [I]n your June 21 statement ... you said that Ms. Carroll was
                  trying to sell a new book and that you said shame on those who make
                  up false stories of assault to try to get publicity for themselves or
                  sell a book?
                  A. Yeah, that’s right.

Id. at 87:6-12.

       67.        Trump repeated that Carroll made up the rape to carry out a political agenda:

                  Q. Another thing that you say in your June 21 statement is that Ms.
                  Carroll was trying to carry out a political agenda?
                  A. Yeah.
                  Q. How did you know she had a political agenda if you didn’t know
                  who she was?
                  A. Somebody told me early on that she was somehow aligned with
                  Hillary Clinton. She was either aligned with her or—I thought
                  aligned with her.
                  Q. Who told you that?
                  …
                  A. I don’t know. I don’t know who said it, but somebody had
                  mentioned it since, that she was somehow into that whole world.

Id. at 88:14-24, 89:6-8.

       68.        Trump repeated that Carroll falsely accused other men of sexual assault:

                  Q. Now, in your June 22nd statement, … you claim that Ms. Carroll
                  had falsely accused other men of sexual assault; correct?
                  A. That’s what I heard, yes.
                  Q. And you believed that was a true claim?
                  A. It’s what I heard.
                  …
                  Q. … Did whoever told you that she accused other men of things
                  also tell you that all those accusations were false?



                                                   18
         Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 19 of 26




               A. No.
               …
               Q. ... Did anyone tell that you that the accusations she has made
               about other men were false?
               A. I don’t know.

Id. at 91:3-9, 92:8-11, 92:16-20.

         69.   When pressed on his statement suggesting that Carroll was too ugly to rape, Trump

testified that “[P]hysically she’s not my type, and now that I’ve gotten indirectly to hear things

about her, she wouldn’t be my type in any way, shape, or form.” Id. at 94:10-13. He further testified

that “that’s 100 percent true. She’s not my type. … There’s no way I would ever be attracted to

her.” Id. at 142:13-143:3.

         70.   When confronted with the photo of Carroll and himself from a party before the

rape, Trump twice misidentified Carroll as his ex-wife Marla Maples, insisting it was Maples

smiling at him in the photo, when in fact the woman he was pointing to was Carroll herself:

               A: [I]t’s Marla. [pointing at Carroll]
               Q. You’re saying Marla is in this photo?
               A. That’s Marla, yeah. That’s my wife.
               Q. Which woman are you pointing to?
               MS. HABBA: No, that’s Carroll.
               THE WITNESS: Oh, I see.
               Q. The person you just pointed to was E. Jean Carroll.

Id. at 82:9-17; see Trump-Carroll Photo.

         71.   The photo did not depict Maples, but rather Carroll, Carroll’s then-husband John

Johnson, Trump, and Trump’s then-wife Ivana Trump. Carroll Dep. at 49:11-15; Trump-Carroll

Photo.

         72.   Trump made his June 2019 statements on his own, without any guidance or

direction from anyone else, and without any research or investigation into Carroll or her


                                                 19
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 20 of 26




accusations. Trump Dep. at 60:3-8, 67:7-18, 69:21-70:5, 88:7-13. He was unable to identify any

other White House personnel as involved in investigating, preparing, strategizing, or creating the

defamatory statements he made about Carroll in June 2019. Id. at 99:4-103:23.

       73.        Trump admitted that no one ever reached out to Bergdorf’s.

                  Q. So before you made your statements that it never happened in
                  2019, did you or anyone on your staff reach out to anyone at
                  Bergdorf Goodman?
                  A. I didn’t have to reach out to anybody because it didn’t happen.
                  …
                  Q. After you made the statements that you made in June of 2019,
                  did you or anyone working for you reach out to Bergdorf Goodman?
                  A. After the statement was made? No.

Id. at 78:6-10, 79:4-9.

       74.        Neither Trump nor anyone working for him did any research on Carroll:

                  Q. Before you made this statement that appears in DJT 20, do you
                  know whether you or anyone working for you did any research on
                  Ms. Carroll?
                  A. … [N]ot that I know of.

Id. at 88:7-13.

       75.        He similarly had no evidence to support his accusation that she was carrying out a

political agenda or working with the Democratic party:

                  Q. Before issuing your statement on June 21, did you learn what
                  political party Ms. Carroll belonged to?
                  A. No, I didn’t know that.
                  Q. Before you issued your June 21 statement, did you have any
                  documents indicating that she was pursuing a political agenda?
                  A. No.
                  …
                  Q. At the end of your statement, your June 21 statement, you say:
                  “If anyone has information that the Democratic party is working




                                                  20
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 21 of 26




                  with Ms. Carroll or New York Magazine, please notify us as soon
                  as possible.” Did anyone ever notify you?
                  A. I don’t know.
                  Q. Sitting here today, you can’t recall anyone who notified you?
                  A. I don’t know, yeah.

Id. at 89:18-25, 90:2-11.

       76.        Although he implied in his June 22 statement that Carroll falsely accused men of

similar things, Trump repeated that he could not explain where he got that information:

                  Q. Now, in your June 22nd statement, … you claim that Ms. Carroll
                  had falsely accused other men of sexual assault; correct?
                  A. That’s what I heard, yes.
                  Q. And you believed that was a true claim?
                  A. It’s what I heard.
                  Q. From whom had you heard it?
                  A. I don’t know. I don’t know.

Id. at 91:3-11.

       77.        At the time of his statements, Trump had no knowledge regarding Carroll’s

financial situation, the arrangement between Carroll and her publisher, or her book sales:

                  Q. Before you made that statement, did you have any knowledge
                  one way or the other of the financial arrangements between Ms.
                  Carroll and the publisher of her book?
                  A. No.
                  Q. Did you even know who her publisher was?
                  A. No.
                  Q. Did you ever see her book contract?
                  A. No.
                  Q. Did you know anything about Ms. Carroll’s financial situation?
                  A. No.
                  Q. Did you know anything about her expected book sales?
                  A. No idea.



                                                   21
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 22 of 26




Id. at 87:13-88:3.

        78.    Trump issued all three statements without reading the excerpt in New York

Magazine or the book itself—indeed, until his deposition, Trump had never even seen Carroll’s

book:

               Q. At any point in time, did you read this article?
               …
               A. No, I don’t believe I did.
               Q. [This is] a book by E. Jean Carroll. It says What Do We Need
               Men For, and if you look at the publication date, it says first edition
               July 2019…. Sitting here today, sir, have you ever read this book
               either in its entirety or any portion of this book?
               A. No, never have. I’ve never seen the book actually.

Id. at 54:22-55:18.

        79.    Trump continuously insulted Carroll in his deposition, stating: “It’s a big, fat hoax.

She’s a liar and she’s a sick person in my opinion. Really sick,” id. at 148:11-13; “[S]he made it

up probably to sell her book or for her own ego, because she’s … a very deranged, sick person, to

make it up,” id. at 216:4-8; “And I think that’s her big claim to fame, you know, that she shook

my hand at some celebrity event,” id. at 81:3-5; “There’s something a little off with her mentally,

id. at 121:16-17; “I will sue her after this is over, and that’s the thing I really look forward to

doing,” id. at 130:18-19; “I think she’s a wack job,” id. at 137:14-15; “I know nothing about this

nut job,” id. at 141:19-20; “[W]hen people accuse me of something, I think I have a right to be

insulting,” id. at 192:10-11; “That’s a sick woman that would say that. Only a sick—there’s

something wrong with her,” id. at 217:2-4.

        80.    Trump also testified that he would repeat his insults to anyone who would listen:

               I told people that there was a false, disgusting lie made about me
               because I would say that to a lot of people. Even if they didn’t ask,
               I was very offended by this. This woman is sick. There’s something
               wrong with her, and it’s a false story. So I would go around saying


                                                 22
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 23 of 26




                  that to people, yes. So it’s possible that I would say that to
                  legislators.

Id. at 103:12-19.

       D.         Carroll Suffered Professional and Reputational Harm

       81.        Carroll had been writing a regular advice column in Elle Magazine, titled Ask E.

Jean, since 1993. Carroll Dep. at 33:14-16, 175:15-17. She testified:

                  [The column] had run in the magazine for 26 years. It was one of
                  the most popular columns ever in the magazine. I loved my readers,
                  loved them. They would pour their hearts out to me and I loved
                  helping them, they helped me …. [There is a] foundation of trust
                  that a columnist has with their readers. And those readers, I loved
                  those readers. They are the best in the world.

Id. at 175:15-176:4, 176:7-10.

       82.        When Carroll “was writing the [advice] column in [Elle], Ask E. Jean received

hundreds of letters every month.” Id. at 38:3-5.

       83.        Roberta Myers, Carroll’s former boss and the editor-in-chief of Elle for 17 years,

testified that Carroll “was beloved” and “really important to the magazine,” and she was “good at

[building an audience].” Ex. 12 to Kaplan Decl. (“Myers Dep.”) at 28:9-13.

       84.        Myers testified to Carroll’s importance to the magazine:

                  [I]f the magazine world is somewhat in decline, you actually want
                  to keep those people who readers—you know, she’s a destination,
                  meaning readers would want to hear from her. She was an important
                  part of what kept us [] popular. Also with the Internet we had another
                  place to put her and put her—what she produced, right. So the
                  audience actually got bigger for her.

Id. at 32:4-12.

       85.        When asked about Carroll’s reputation, Myers testified:

                  E. Jean was—I mean, she’s kind of a rock star, meaning, you know,
                  she had a public profile before she came to Elle, people knew who
                  she was. She was on television. She had a show on MSNBC. She



                                                   23
        Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 24 of 26




               was hired by Roger Ailes. So she was public in that way, but she
               also worked for a lot of different places.
               …
               [In the office], people that didn’t work with her and maybe hadn’t
               met her, she would come up these dramatic stairs and it would be
               like E. Jean, you’re great, you rock. Of course, when she was on the
               floor, you know, Elle’s floor, people just loved to see her because
               also she would walk up to them and say “What are you working on,
               girl,” you know.

Id. at 22:12-18, 25:11-18.

       86.     She also testified to Carroll’s impact on the magazine industry as a whole:

               Q. Would you say she had an impact on advice column—the advice
               column genre more broadly?
               A. Absolutely. I mean, it sort of exploded, you know, the other—
               some of our competitors … never had advice columnists. So I think
               that the term “advice columnist” has sort of like maybe kind of a
               dated feeling to it starting with Anne Landers and people who wrote
               in newspapers which were completely legitimate, but Elle was a
               national magazine which meant she was talking to the whole
               country.
               Q. So other publications including competitors added advice
               columnists because of E. Jean?
               A. Yes, but I will say that E. Jean was in a particular sort of category
               by herself. As I said, she had a high public profile before she came
               to Elle. I mean, what other people are doing is great, right, and it’s
               fun and interesting, but women really trusted E. Jean and we got lots
               of feedback from readers that she helped them. Also, you know, they
               loved her voice because she puts a lot of funny in there or sort of—
               but it’s always undergirded by reporting.

Id. at 23:5-24:4.

       87.     When asked about Carroll’s relationship with her readers, Myers continued:

               Q. How would you describe E. Jean as a writer?
               A. [T]he term that came to mind is sort of she’s a baller … as a
               writer. She’s a gifted writer. She is a journalist first and everything
               that she writes is informed by that, meaning the facts, but she—she
               also, you know, has a lot of wit and I think that’s why her readers
               loved her so much.

Id. at 21:15-22.


                                                 24
          Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 25 of 26




       88.     Carroll’s “entire career as an advice columnist rested on the fact that [she] could be

trusted.” Carroll Dep. at 175:22-24. And during Myers’s tenure at Elle, there were no concerns

about Carroll’s accuracy as a writer. Myers Dep. at 26:14-27:10.

       89.     Carroll’s reputation was severely damaged by Trump’s June 2019 statements. After

Trump’s statements were published, Carroll “was looked at as a woman who’s untrustworthy,

looked at ... as a woman who can’t be believed.” Carroll Dep. at 172:12-14; see also id. at 176:2-

4 (“So when the president said I’m a liar, it shook that whole foundation, that was it.”). She

received significant negative attention (both publicly and privately) following Trump’s statements.

Humphreys Rep. at 49-58; Ex. 13 to Kaplan Decl. (Appendix H to the Expert Report of Professor

Ashlee Humphreys); Ex. 14 to Kaplan Decl. (Appendix I to the Expert Report of Professor Ashlee

Humphreys).

       90.     She received fewer letters after Trump made his statements and was terminated

from Elle months before her contract was up for renewal. Carroll Dep. at 176:12-13, 176:25-

177:12.

       91.     The quantitative data shows that Trump’s statements were widely disseminated.

Based on a comprehensive analysis conducted by Professor Ashlee Humphreys, Ph. D., and using

conservative estimates, Trump’s defamatory statements generated between 142,334,424 and

188,155,507 impressions across various forms of media. See Humphreys Rep. at 26-30 & Appxs.

D, E, F, G.

       92.     Prof. Humphreys completed a quantitative impact analysis that showed 25.25% of

readers and listeners were likely to believe Trump’s statements. Id. at 58-63 & Appx. L. As a

result, between 34,075,512 and 42,936,354 of the impressions generated by Trump’s statements

were likely received by people who were receptive to them. Id.




                                                25
      Case 1:20-cv-07311-LAK Document 115 Filed 01/12/23 Page 26 of 26




Dated: New York, New York                    Respectfully submitted,
       January 12, 2023

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                                     26
